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    The Court therefore found "no legiti-        threat to order, safety, and security that     reversed in part and affirmed in part, and
mate basis for the second shock,particularly     Hinide posed leven from the outset."Thus,      following remand the parties entered into
considering (1) that the first shock had         DukuzumUremyi was not entitled to quali-       mediation.See:Piazza v. Hunter,923 F.3d
immobilized Hinlde and (2) the minimal           fied immunity.Tht district court's order was   947(11th Cir. 2019).F1


                          Judge Orders Federal Prisoner with Cancer
                             Released Due to Poor Medical Care
                                                             by Matt Clarke

I N JUNE   2019, A U.S. DISTRICT COURT
   ordered that a prisoner held at the Federal
Correctional Institution in Aliceville,Ala-
                                                 By then it was too late for chemotherapy,
                                                 and she had found two lumps in her right
                                                 breast.
                                                                                                allegations in Beck's request for compas-
                                                                                                sionate release or provide an explanation
                                                                                                for the delay in her medical care.However,
bama be released due to the poor medical              Attorneys Robert Elliot of Win-           they did argue, unsuccessfully, that she
care she receivedfrom the Bureau ofPrisons       ston-Salem and James B. Craven III of          did not qualify,for compassionate release
(BOP)for invasive breast cancer.                 Durham helped Beck apply for compas-           because she didn't have a terminal disease
     In 2013, Angela Michelle Beck, 47,          sionate release under the provisions ofthe     or a debilitating medical condition that
pleaded guilty treoncipiracy to dimibute         FirOt Step. Act., On June 2.114 2019, U.S.     prevented her from taking care of herself,
rnethamphetamine andpossession ofafire-          District Court ludge Catherine Eagles          and that she may still'present a danger to
arm in cciinectiod with a drug trafficking       issued a 20-page order reducing Beck's         the community given the seriousness of
offense. She was one of21 people indicted        sentence to time served and granting           her offenses."
on charges of being part of a large-scale        compassionate release.                              Beck had previously filed a lawsuit
methamphetamine ring, and received a                 Judge Eagles gave BOP officials 21         seeking an order requiring the BOP to
166-month sentence. She'had served over          days to evaluate Beck's residence and          provide treatment for her cancer. In that
Six yens.                                        implement a five-year period ofsupervised      case,which was also heard byJudge Eagles,
      According to court.doounents, Beck         probation.In her order,Eagles said she had     prison officials were ordered to ensurethat
found a lump in her left breast while felting    granted compassionate release due to Becles    Beck received immediate medical carean
a shower in. September 2017,She reported         Invasive cancer and the abysmal healthcare     granting compassionate release, Eagles
the lump to prison officials and was seen        [that the]Bureau ofPrisons has provided,"      noted that the BOP 'continues to justify
by a 'doctor on October 16, 2017, then           which qualified'as'extraordinary and com-      delays by blaming non-BOP officials,such
by a surgeon two months later. She had a         pelling rearne warranting a reduction in       as her oncologist,and logistical issues,and
mammogram on December 21,2017that                her sentence to time served."     .            it has provided erroneousinformationabout
showed multiple breastmasses and,cysts.A             "With appropriate supervision, the         her recent appointmentsr the Court.The
 prison doctor ordered a biopsy.                 court concludes that Ms.Beck Is not a          quality of Ms. Beck's cancer treatmentnt
     Eight months law,thp biopsy con-            danger to the safety ofany other person        [the:BOP]in the ,past< remains the hest
firmed Stage 11 cancer and Beck was told         or to the community,'Judge Eagles              predictor of.what it will be inthe future;
she would geeil40 have the breastremoved.        wrote."Ms. Beck poses little risk of re-       See: UniAd States v. Ber.141.1S.D,C...(MD..
That didn't, happen for another three            cidivism or danger to the community....        NC), Case No. 1:13-cr-00186-6-CCE;
months.It took ftyt more months before           As such,Ms.Beck is entitled to compas-         2019 U.S. Dist.LEM 108542.
she refeived a followzup appointment             sionate release."
with ap Oncologist for further treatment.             BOP officials did not deny any of the     Additional source:jaurnalnow.corn
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            Representing Pennsylvania Inmates                                            Check out ink from the Pen!.
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Prison Legal News                                                     27                                                 November 2019
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                                               U.S. Department of Justice
                                               Federal Bureau ofPrisons
                                               Federal Correctional Institution
                                               P.O. Box 445
                                               Aliceville,ftlabalna 35442
 mm•mwmammammEmommme•or
 Office ofthe Warden
                                               June 10, 2019



 MEMORANDUM FOR       Willis, Bernetta Lashay
                      REG. NO. 11880-002




 FROM:                Patricia V. Bradley, Warden
                      FCI Aliceville, Alabama

 SUBJECT:             Compassionate Release/Reduction In Sentence
 (RIS)


 Consideration for your release, under the provisions of Title
 18, United States Code, Section 3582 (c)(1)(A), and Bureau of
 Prisons' Program Statement 5050.50, has been given careful
 review, which included case summary information and length of
 time served. Based upon this information, your request for a
 Compassionate Release/Reduction In.Sentence (RIS) has been
 denied.

 Currently, you do not meet the criteria for a Reduction In
 Sentence based on Medically Debilitated Inmates with Medical
 Conditions. Although you have several chronic medical
 conditions you are able to independently attend to your
 activities of daily living. A review of your current medical
 status indicates that your chronic conditions are stable with
 appropriate treatment plans in place. After careful review of
 this information, consideration for Compassionate Release/RIS is
 dented. In compliance with Bureau of Prisons' Program Statement
 5050.50, you may appeal this denial through the Administrative
 Remedy Program.

 Medical staff will continue to monitor your conditions as
 clinically indicated. I suggest you work with your unit team
 and your designated medical and mental health team to address
 your needs, as they may arise.
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                   INFORMAL RESOLUTION ATTEMPT



 November 26, 2018

 Willis, B
 Reg. No.: 11880-002

 BP-8 Medical -

' ThiS is in response to the attached complaint in which you state
  that you were takeft off of blood:thinners and- that yod have not
  seen a specialist as the Vascular Cardiologist had stated.

 Per medical
       )_    staff areviewofinmate Willis's Medical - chart revealed
 on January 24,-2016, Dr. Griffin:noted that her Plavix therapy
 was complete and' indicated that a daily 61thg aspirin was
 appropriate. I -have also nOted that as of October 31st, 2018,
 she is only 72% c6mpliant with her aspirin regime:a. PleaSe let
 her know that this is a daily medication.

 If you are not satisfied with this decision, yoU May appeal to
 the Warden on an Administratdve Remedy Form BP,-229


 S. Westley,   10
                1 1Pronal Counselor
                                                          I-26-(
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JAMES B. CRAVEN 111
     ATTORNEY AT LAW
                                                                             LIBERTY MARKET BUILDING
                                                                              349 WEST MAIN STREET
     JANIE K. LATTA                                                                P. O. BOX 1366
      LEGAL ASSISTANT
                                                                              DURHAM,'SIC 27702
                                                                                 (919)688-8295
                                                                                FAX (919) 688-7832
                                                                               ibc64@mindspring.corn
                                       November 9, 2018


 Lawrence Kupers, Esquire.
 Deputy Pardon Attorney
 145 N'Street, NE
 Washington, DC 20530

        Re: Bernetta Lashay Willis
            Reg. No. 11880-002



 Dear Larry:

         Enclosed for filing now is the Petition for Commutation of Sentence for Bernetta Lashay
 Willis, now at FCI Aliceville, Alabama. At only 40, with her remarkable laundry list of serious
 medical issues, she is surely one of the most expensive guests the BOP has. She will have
 served, with BOP good time, 177 months as of November 30. She cannot possibly live another
 25 plus years to her June 20,,2044 release date at age 66. She is in no way of course entitled
 to a commutation. We are asking for one as an act of mercy from the President.

        Many thanks.
                                                    Very tF,...y yours,


                                                    James B. Craven III

 JBCIII/jkl
 Enclosure
 Cc: Ms. Bernetta Lashay Willis
     Ms. Georgen Arsons
     Hon. Terri Sewell
     Ms. Mercedes W. McQueen
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JAMES        -RA\
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     ATTO


     JAN14    Lkr-rA




U}Ion. Terri ae;well
 Member of Congres
 Courthousc Annex 3
 101 south Lawrence Stteet
 Montgomery, AL 36104

        Re: - Bernetta Lashay Willis
           'Reg. No. 11880-002


 Dear CongresswOrnan Sewell:

         Beinetta Willis of MontgomerY needs yo4 help. Let me explain. Bernefta,'bow 40, is at
 FCI Aliceville, Alabama, with a Bureau of Prisons (BOP) release date of June'20, 2044. Her
 sentence was truly 516 months (43 years). AS of September 30 she had seived exactly 152
 months straight calendar thne, or 175 months with BOP good time. That is not an
 insignificant sanction for FEMA fraud and associated offenses. She is in truly wretched health
 and meets 411 the BOP criteria for Compassionate Release, under 18 U.S.C. 3582(c)(1)(A)(i).

        Bernetta was tried and sentenced by Judge Mark E. Fuller in Montgomery. He has of
course since resigned under the threat of impeachtnent. Her primary lawyer, then, Valerie
Smedley, has:since been disbarred. Somehow she found me, and I just cannot say No to these
sad folks, hailing done this work for 50 years noW.
                                                                                      .
        We p:Ke seeking compassionate releasee4Ways an uphill battle with the ppp. Bernetta
has a histoty,of recurrent seizures since childhOod, along with chronic pain in her neck and
shouldier resulting from a stabbing injury sorne years ago. She has had two cardiac bypass
surgees.
     ri    She had surgery for vascular clots      2013, and has peripheral vascular disorder,
combined with a possible aortic aneurysm, possible glaucoma, and major dePression. At only
40 she is vtay out of warranty for sure. Her POP release date is June 20, 2044. I cannot
imagine whg it will cost to keep her imprisonea another 26 years, on top of the alinost 15
years she Ilas already served.

        We are alsó going to apply for a President0.1 coMmutation of her sentenCe, On the theory
of With President Trump, why not?

        The POP has been toundlÿ cnncized bj: the Sentencing Comrnisdion, the Inspector
General of the Justice Department, and an incliasing number of House and Senate rnembers
of both partieS for being g1aoiallY slow #1_COmp4sionate release             Th_e POP has made an
art form offoot-dragging,  even  m. cases where ofe poor guyi§:41freaCitY             hospice care.
They don't lasUally listen to anyone,   but Conz issional  and -jUdiCial  inquiries sonvnimes bear
fruit. I have done this frustrating•*rleTor         50 SreaS;' and  have
                                                                  'y.4-1  been  hel-   by dozens of
Congressmeri and Senators.

        YoUf House colleague Walter Jones of North carOlipa actually teIephoticd BQP HQ in
Washingtoiyfn October 2015 about a terminal& ill felloW,-and it Worked., cobgrvasman. G.K..
Butterfield:4n 'of North-,PaioljUa met - with       ObainS2-aboUt one t-,f rrly folks, as - did
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Congresswoxnan Marcia Fudge of Ohio. ArYA the late Senator Strom Thurnlond of South
Carolina         ydars ago twice telephoned President Reagan for me. All we need from you is an
inquiry to the BOP about compassionate release for Bernetta Willis so she can home. Enclosed
is a PrivacYr Act form she signed. Please let us know.

       Many. thanks.
                                           VO7y truly yours,
                                           'X,to is. N.4,....A72.
                                            ,
                                          4aimes B. Craven III
JBCIII/jkl
Enclosure
Cc: Ms- Bernetta L. Willis
    Ms. Georgean Arsons
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     The Offense Conduct
2.   On August 29, 2005, President George W. Bush declared multiple counties in Louisiana
     major disaster areas as a result ofHurricane Katrina. As a result ofthe declaration, federal
     funds were made available to assist eligible individuals located in the affected areas. Types
     of assistance made available to qualified applicants included Temporary Housing,
     Mortgage/Rental Assistance, Individual and Farnily Grants, Disaster Food Stattp benefits
     and Disaster Unemployment Assistance through FEMA,a federally funded program.


3.   As part of an ongoing investigation offraudulent claims originating from the Montgomery,
     Alabama,area,DepartmentofHomeland Security(DHS),Office ofInspector General(OIG),
     investigators began an investigation involving Bernetta Willis, after viewing a vehicle
     registered to Willis parked at the address for Reginald Pringle and Crystal Phillip, who were
     also under investigation. The National Emergency Management Information System
     (NEMIS)contained the name Bernetta L.Willis,SSN:XXX-XX-XXXX. The application was
     filed on September 5, 2005, reporting damage at 2700 Whitney Avenue, Apartment 803,
     Harvey,Lonisiana. Willis'current address was listed as 3717 Princeton Road,Montgomery,
     Al.abama. Willis received $4,358 from FEMA for housing assistance and rental assistance.
     LETS identified Willis' social security number as XXX-XX-XXXX; and her date ofbirth as June
     5, 1978.
     On October 24,2005,an OIG investigator interviewed Willis,who stated that she was living
     at the Emerald Pointe Apartments, 27000 Whitney Avenue, Apartment 617 Harvey,
     Louisiana, with her boyfriend and two children when Hurricane Katrina made landfall.
     Willis provided the investigator with a copy of a lease for the apartment After she left
     Louisiana, Willis said she met Shirley Brown at the Peddler's Inn,in Montgomery; and that
     Brown filed the claim for Willis. Willis stated that she received two checks from FEMA;
     and that she cashed both checks.



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U.S.A. v. Bernetta LaShay Willis                                         Presentence Investigation Report
Docket No.2:06CR0071-MEF-001

5.      On October 28, 2005, Agents Ed Kleppinger and Terry Crurnp received docunients from
        Blake LeBlanc, owner of ACE Check Cashing located at 604 West Fairview Avenue,
        Montgomery. The documents included several copies ofchecks and the identifications used
        to cash the checks. LeBlanc had started to tuna many people away with FEMA checks
        because-he suspected many of them to be questionable. LeBlanc provided copies ofnine
        checks totaling $18,358. Willis had personally cashed check number 22906613; in the
        amount of$2,000, using the address of3717 Princeton Road.

6       On October 29,2005, Willis was interviewed by the OIG,and she maintained that she lived
        in Harvey,Louisiana,at the Emerald Pointe Apartments. She aLso stated that she did not file
        a FEMA claim for herself or anyone else. Willis provided a swom written statement to the
        OIG.

7        On December 5,. 2005, the OIG identified two additional checks in the name of Bernetta
         Willis. This brought the total amount of the checks issued by FEMA to Willis at 3717
       • Princeton Road,to $8,716.
8.      The OIG interviewed Willis, again, on Tuesday, December 6, 2005. Willis could not
        identify any major streets near her reported apartment building in Harvey,Louisiana. Willis
        named Manhattan Street, but could not provide any other street names or directions on how
        to get to her apartment complex. Willis stated she was staying at 617 Whitney Avenue,
        Emerald Apartment. Willis also stated that the rent for the apartment was $506, when, in
        fact, the rent was not indicated on the application.
9.      Willis finally stated that she .did receive and cash two checks from FEMA. The OIG
        informed Willis that four checks were issued in her name. Willis then stated that she cashed
        twoehecks, maybe three. Willis told the investigator that she would try to do something to
        pay the money back,ifshe should not have cashed a certain check that she received.

10.     Willis,again,contended that she did not file the claims,but instead"Ms.Shirley"filed them
        for her. Willis stated that she did not know what information had been used by Ms. Shirley
        to file the claims. The OIG had previously attempted to locate Ms. Shirley at the Peddler's
        Inn, with negative results. •
11.     Willis claimed she was living with David Turner in Louisiana, with two ofher children; and
        that her othertwo children stayed in Montgomery,withher cUrrentlandlord,Elizabeth Grant.
12.     On Thursday,December 8,2005,the OIG received information, via fax,from the Alabama
        Department of Human Resources (DHS), which reflected that Willis had received food
        stamp benefits from November 2004 through December 2005. An additional note attached
        indicated that Katrina evacuees were only certified for four months, if;they met the
        requirements.

13.     On Sunday,December 11,2005,the OIG interviewed Willis' landlord ,Elizabeth Grant, at
        3717Princeton Road,Montgomery,Alabama. According to Grant,Willig was always in and'
        out oftown; and Willis would pay Grant to keep all four of her children, sometimes for a
        week or more at a time. The Princeton Road address.was previously a boarding house that
        Grant rented to several occupants, but Grant could not recall exactly who lived where and
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        when they lived there. The OIG identified several FEMA checks sent to this             ess in the
        names ofBetnetta Willis, Litasha Washington, and Andrew Garret.
14.     Duting the course of the on-going investigatiOn, the OIG took statements from sever
        coconspirators implicating Willis. Investigative information revealed Willis tohethe leadE
        in the crimthal activity. Willis used the names and addresses ofnumerous cOconsiira
        to file FEMA assistance claims Willis,in turn, would have the individuals pay lieT a fee:
        getting them the checks. Additional addresses used by Willis to receive the cheO
        but are not limited to, 3438 Crescent Road, Montgomery, Alabama; 933 s,
        Montgornery,Alabama;4647 Virginia Loop Road,Montgomery,Alabama;3621 ClOVer
        Road, Montgomery, Alabama; and 3643 Soutbmont Drive, Apartment 19, Mont onie
        Alabama.. Additionally, Willis was implicated for selling naarijuana arid crack Coc
15.     Valarie Howard provided a proffer statement to the OIG on Friday, January
        regarding theFEMA fraud and Willis'involvementin same. On Tuesday, January
        the GIG received a telephone call from Howard,regarding an incident that occurrec
        night of January 22, 2006, with Willis. Howard stated that Willis pulled a pisc o on
        (Howard)outside ofthe Rose Supper Club, and told Howard that she(Willis) was oin
        "blow her(Howard's)head off'because she(Willis)heard that Howard was going to tek
        against her in court. Howard further stated that she drove to the Montgomery, AlabaM
        Police Departnaent(MPD)to seek a warrant; and that Willis followed Jaer while en rOu
        waving a gun outside the windoW. While at the police station, Willis called oWar
        cellular telephone and continued to threaten her. Willis stated, I'm gorilla get you bitch
        don't care who you call or what type of warrant you sign." The GIG followed up by
        obtRining a copy of the deposition filed by Howard regarding the incident; as well as
        interviewed the security guard and others present at the club. A11 implicated Willis with
        having a handgun and threatening to kill Howard.
16.     On Friday, January 27, 2006, a federal search warrant was executed at 'Willis' residence,
        located at3717Princeton Road,in Montgomery,Alabama,during which thefollowing items,
        were recovered: a.380 automatic pistol; a 22caliber revolver;one box of9mm ammunition;'
        miscellaneous FEMA paperwork and other papers related to the investigation; $1,000 cash;
        a blue duffle bag containing marijuana; a social security benefit statement for Litashia
        Washington; FEMA paperwork for Bernetta Howard; a utility bill for Andrew Garret;
        Wachovia checking account paperwork; FEMA paperwork for Jacob Warner; FEMA
        paperwork for Litashia Washington; FEMA paperwork for Bernetta Warner; FEMA
        paperwork for Jacob Warner,Jr.; FEMA paperwork for Bernetta Willis c/o Robert Garret;
        FEMA paperwork for Bernetta.K.Willis; a lease for Bernetta Willis at3717Princeton Road
        from January 2005 to January 2006; numerous identification and social security cards for
        various individuals; and an apartment lease for 2700 Whitney Avenue, Harvey Lonisian
        covered in white-out, with the name ofLitashia Washington written on t4:::•15 ofthe white-o
17.     Also on January 27,2006,the GIG spoke with Willis,via telephone, w
        search warrant at her home. The OIG in.formed Willis that he was loo
        during an incident at the Rose Supper Club. Willis told the OIG thats
        the pistol was registered; and that she had the pistol with her in Atlanta,
        that she would be in Montgomery, in approximately three hours. Wi
        make contact with the OIG,thereafter.
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18.      On February 6, 2006, the OIG rnet with a disclosure officer with the Social Security
         Administration(SSA)to review SSA records on Willis. Willis has been receiving benefits
         since April 1999. The records indicated that Willis had not received benefits outside of
         Montgomery, Alabama,frorn 1999 to the present. The address reflected on the benefits was
         3717 Princeton Road,Montgomery,Alabama. Willis was receiving Supplemental Security
         Income (SSI) for diagnostic codes 3180 (Mild Mental Retardation) and 2960 (Mood.
         Disorder). The disclosure officer advised that Willis did not have a representative payee,
         which meant that she was capable to handle and spend her SSI funds.
19.      On February 10, 2006, the OIG received a response to a subpoena to Entergy Services,
         Incorporated, the electrical power supplier for New Orleans, Louisiana, in reference to the
         FEMA claims submitted by Willis. Entergy records did not show any service at 2700
         Whitney Avenue, Apartment 617,Harvey Louisiana, since 2002.
20.      On. November 15, 2006, Deputy U. S. Marshal(DUSM)John C. Hamilton attempted to
         locate and arrest Litasha Washington for violation of 18 U.S.C. §§371, 287, 2, and 641.
         DUSM received information that Washington was residing with Willis at 3717 Princeton
         Road, in Montgomery. Washington was reported to drive a 1996 or 1997 Ford Crown
         Victoria, red and black in color, with "Scar Face and "Say Hello to My Little Friend"
         painted on the side.
21.      At approidmately 4:45 p.m. on this same date, DUSM A. L. Reeves set up surveillance on
         the residence. DUSM Reeves radioed DUSM Hamilton that the described vehicle was
         located at the residence. Apprciximately 10 minutes later, DUSM Hamilton, along with
         DUSMs Reccio and Karle, arrived at the residence and set up a perimeter around it. The
         DUSMs knocked on the front door and announced their presence. While waiting for a
         response,DUSM Karle saw an individual Walkpast a front window toward the south end of
         the house.
22.      After a few minutes, Willis answered the door. Willis was advised that the DUSMs were
         there to serve an arrest warrant on Washington. Willis stated that Washington did not live
         at the residence, nor was she there. Willis further claimed ownership of the vehicle
         described earlier as Washington's.
23       Willis was advised that if Washington was located inside the residence,she(Willis)would
         be charged under the federal harboring statute. Willis denied two additional times that
         Washington was in the house. Washington was Iocated in th.e master bedroom shower atthe
         south end ofthe house. The defendant's pretrial supervision was revoked onNoveraber 22,
         2006, as a result ofthe defendant incurring a violation of 18 U. S. C.§ 1001.
24.      On December 14, 2006,DHS-OIG Kleppinger interviewed Bernetta Willis. At this time,
         Willis stated that right before Hurricane Katrina made landfall in August 2005, she was
         living with Rochandra Whipple at566 Whitney Avenue,in Louisiana. Willis had no utilities
         or lease papers in her name at 566 Whitney Avenue. Willis then advised that she was
         planning to move there from Montgomery, Alabama. When asked where she was paying
         bills and had utilities in her narne, Willis responded,"3717 Princeton Road, Montgomery,
         Alabama." Willis then stated that her cousin, Michael Harris, a/k/a "Red,"had filed the
         fraudulent claims.
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25.     On February 22, 2007, DHS-OIG Kleppinger interviewed Laura Phillips. During this
        subsequent interview, Phillips stated that she purchased crack cocaine froth her niece,
        approximately$100 worth(exact quantity unknown)on a weekly basis. She stated her niece,
        Bernetta Willis, told her she could creclit some ofher drug purchases to the checks she was
        going to receive in the mail. Phillips stated that on each occasion, when the checks arrived
        in the mail, Willis would pick her up,drive her to the check cashing store and she wouid pay
        Willis "a $500 fee'. On the second occasion, Phillips stated she paid Willis an additional
        $200 for drugs previously received Phillips stated that she was not initially ware of the
        source and origin of the checks and that Willis told her that a "lady was going around and
        helping people with billS". She stated Willis assured her there was no problem She stated
        that Willis later told her that if anyone came to talk to her about the checks that she should
        say that they do not associate with one another because they do not get along well. She
        stated Willis told her that no one could make her tell on her (Willis).
26.     On March 20, 2007, Litasha Washington was intetviewed at the United States Attorneys
        Office, in Montgomery, Alabama, pursuant to a proffer agreement, regarding her
        involvement in the FEMA fraud conspiracy. Washington admitted to having been involved
        in a relationship with Willis for approximatelytwo and a halfyeart; and to having lived with
        Willis for part of that time. Washington admitted to assisting Willis in obtaining checks
        from FEMA. Washington also admitted to never having lived in Louisiana, thereby, never
        having been affected by Hurricane Katrina; and to having personally taken about $2,000 cf
        the approximately $20,000 that she was involved in obtaining from FEMA.

27.     Washington admitted to being a user of marijuana, but denied that she ever sold drugs.
        Washington stated that she has known Willis to give drugs away;and said thatthe one ounce
        package ofmarijuana that authorities recovered from Willis' residence belonged to Willis.
        Washington further stated that both firearms recovered by authorities belonged to Willis, as
        well.

28:     On March 21,2007, Willis was again intervieWed. During this interview, Willis stated that
        she received checks from FEMA that she was not entitled to receive; and she stated that her
        primary residence was located in Montgomery, Alabama. Willis inclicated that her cousin,
        Michael Harris,filed the claims. Willis also admitted to receiving FEMA assistance during
        Hurricanes Danny and Ivan;and stated thather landlord,John Knight,filed the claims at that
        time. The OIG identified four claims for Ivan filed in four different variations ofthe name
        Bernetta Willis.
29.     Given the relevant conduct standard, and based on investigative information and tria3
        testimony, Willis' involVement in the criminal activity resulted in a total actual loss of
        $58,499.93; and a total intended loss of$471,600. Additionally, investigative information
        and trial testimony revealed that the defendant is accountable for at least one ounce(28.35
        grams)of marijuana; and five grams of crack cocaine.
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